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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 GLORIA MITCHELL, individually and on
 behalf of all others similarly situated,

                        Plaintiff,                 Case No. 1:16-cv-00076-BLW

 v.                                                 PLAINTIFF GLORIA MITCHELL’S
                                                    REPLY IN SUPPORT OF HER
 WINCO FOODS, LLC, a Delaware limited               MOTION TO RECONSIDER
 liability company,                                 DECISION AND ORDER OF
                                                    MARCH 7, 2017 DISMISSING CASE
                        Defendant.


I.     INTRODUCTION

       As the Court is by now well aware, this case challenges Defendant Winco Foods, LLC’s

(“Winco” or “Defendant”) failure to provide a "standalone" disclosure and authorization to job

applicants and employees before it obtained consumer reports about them—conduct that violates

the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA”).
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       On March 2, 2017, the Court dismissed Plaintiff Gloria Mitchell’s (“Mitchell” or

“Plaintiff”) Complaint with prejudice. (See Memorandum Decision and Order (“Order”) (dkt.

28)). In doing so, the Court stated that, “[b]ased on the allegations of the Amended Complaint,

this case fits squarely within the ‘entirely accurate’ or ‘no material risk of harm’ categories

identified by Justice Alito as not constituting the type of harm which provides Article III

standing.” (Order at 6.) On March 10, 2017 Plaintiff filed her motion for reconsideration based

on a change in the law that occurred between the time the Parties briefed Winco’s Motion to

Dismiss and the time the Court issued its Order, Syed v. M-I, LLC, 846 F.3d 1034 (9th Cir. 2017)

(opinion amended and superseded on denial of rehearing by Syed v. M-I, LLC, 2017 WL

1050586 (9th Cir. March 20, 2017)).

       In Syed, the Ninth Circuit held that Congress recognized the risk of harm associated with

a violation of Section 1681b(b)(2)(A) and established a private cause of action to redress such

injuries. Id. at *4. The Ninth Circuit explained that an employee or potential applicant who is

presented with a disclosure that includes extraneous information may be deprived of their ability

to meaningfully authorize the consumer report and that a claim based on such a faulty disclosure

“alleges more than a ‘bare procedural violation.’” Id. The ruling in Syed runs contrary to the

finding in this case that such allegations present “no material right of harm” and instead clarifies

that in addition to protecting against the dissemination of false information, Congress also

intended the FCRA to protect consumers against unwanted and “improper invasion[s] of

privacy.” Id. at *6. ("The disclosure and authorization clauses therefore work in tandem to

further the congressional purpose of protecting consumers from ‘improper invasion[s] of

privacy’”) Id.




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       Plaintiff Mitchell has Article III standing based on Syed. Just like the plaintiff in Syed,

Mitchell was provided with an FCRA disclosure riddled with extraneous and improper

information. As Syed was issued during the interim between the time when Plaintiff filed her

Opposition to Winco’s Motion to Dismiss and the date the Court entered its ruling, it is clear that

Syed binds this Court. Put simply, in the Ninth Circuit employees and applicants who are

provided unlawful FCRA disclosures enjoy standing to sue, even after Spokeo.

       Winco disagrees. Seeking to explain away Syed, Winco claims that the cases are

distinguishable—in Syed the extraneous language was a liability waiver whereas here the extra

information concerns the obtaining of a different type of consumer report altogether—and that

Syed is not actually an intervening change in law since the decision was decided before the Court

issued its dismissal Order. Winco also asserts, in apparent recognition that Syed is directly on

point, that the Court should ignore Syed and follow Winco's reading of Spokeo regardless.

       As explained below such arguments should be rejected. Winco argues the merits, not

standing, and Syed was plainly decided after briefing but before the Court issued its ruling. Try

as it may, Winco cannot avoid binding Ninth Circuit precedent.

II.    ARGUMENT

        “Reconsideration is appropriate if the district court (1) is presented with newly

discovered evidence, (2) committed clear error or the initial decision was manifestly unjust, or

(3) if there is an intervening change in controlling law.” Sch. Dist. No. 1J, Multnomah Cty., Or.

v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993) (citing All Hawaii Tours, Corp. v. Polynesian

Cultural Center, 116 F.R.D. 645, 648 (D. Haw. 1987), rev’d on other grounds, 855 F.2d 860 (9th

Cir. 1988); Tucker v. S. Shore Villas Homeowners Ass’n, No. 215CV00961JADNJK, 2017 WL

810281, at *3 (D. Nev. Mar. 1, 2017) (same)).




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       Defendant asserts that Syed is inapposite and doesn't constitute an intervening change in

law. As explained below, both of Defendant’s arguments fall apart.

       A.      Contrary to Winco's assertions, Syed is directly on point.

       For its argument-in-chief, Winco claims that Syed is inapposite because in that case the

FCRA disclosure contained a liability waiver whereas here the extraneous language concerns

different information (specifically disclosures required before a company can obtain something

the FCRA refers to as an "investigative consumer report,"1 as opposed to a more routine

"consumer report," despite clear guidance from the FCC that employers are not to combine such

disclosures). (Winco. Op. Br. 3.) Indeed, to hear Winco tell it:

       [T]he Ninth Circuit highlighted the distinguishing factor of Syed in that the
       additional terms included in the FCRA disclosure consisted of a liability waiver.
       The concrete harm found by the Ninth Circuit was that the plaintiff was confused
       by the inclusion of the liability waiver and would not have signed an authorization
       if it had contained a clear disclosure.

(Id.) Hence, per Winco, Syed stands for the proposition that employees or applicants have

standing to sue over a failure to provide a “standalone” disclosure only where the disclosure

contains a liability waiver.

       Fortunately for employees and job applicants throughout the Ninth Circuit, nothing in

Syed suggests its as limited as Winco claims. In evaluating the congressional purpose behind the

FCRA's standalone disclosure provisions the Ninth Circuit explained that:

       Congress passed Section 1681b(b)(2)(A) in order to protect consumers from
       “improper invasion[s] of privacy,” S. Rep. No. 104-185 at 35 (1995), and the
       disclosure and authorization requirements fit hand in glove to achieve that purpose.
       Indeed, each would be largely ineffective on its own. Had the statute required


1
  The term “investigative consumer report” “means a consumer report or portion thereof in which
information on a consumer’s character, general reputation, personal characteristics, or mode of
living is obtained through personal interviews with neighbors, friends, or associates of the
consumer reported on or with others with whom he is acquainted or who may have knowledge
concerning any such items of information.” 15 U.S.C. § 1681a(e). (FAC ¶ 33.)


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       disclosure without conditioning the procurement of a consumer report on the job
       applicant's authorization, it would have failed to give the applicant control over the
       procurement of the personal information contained in the consumer report. On the
       other hand, had the statute conditioned the procurement of a report on the job
       applicant's authorization without mandating clear disclosure by the prospective
       employer, Congress's purpose would have been frustrated because applicants
       would not understand what they were authorizing. The disclosure and
       authorization clauses therefore work in tandem to further the congressional
       purpose of protecting consumers from “improper invasion[s] of privacy.”

Id., at *6. (Emphasis added.) Hence, the Ninth Circuit focused on the invasion of privacy that

flows from a confusing, unclear disclosure.

       Winco's assertion that Syed turned on the inclusion of the liability waiver is simply

inaccurate. True, in Syed “[t]he Disclosure Release . . ., authorized M-I to procure Syed’s

consumer report, and stipulated that, by signing the document, Syed was waiving his rights to

sue M-I and its agents for violations of the FCRA.” Id. at *3. However, the Ninth Circuit did not

rely on the liability waiver specifically in finding that Syed had standing. Rather, the central

point was that Syed and others could have been “confused by the inclusion of the liability waiver

with the disclosure and would not have signed it had it contained a sufficiently clear disclosure,

as required in the statute.” Id. at *5 (emphasis added). Due to such potential confusion “Syed

was deprived of the right to information and the right to privacy guaranteed.” Id.

       The same principles apply in this case. Mitchell alleges that Winco combined the FCRA

consumer report disclosure with an FCRA disclosure for "investigative consumer reports." Like

the Syed decision, the FCC expressly recognized that where excessive information is provided

such that the investigative consumer report disclosure overshadows the standard disclosure, the

employer violates the FCRA. As set forth in the Complaint:

       [A] Section [1681d(b)] notice setting forth the nature and scope of the
       investigation would of necessity be much more detailed and would likely be
       held to overshadow [the 1681b(b)] disclosure in violation of
       [1681b(b)(2)(A)(i)]. Therefore, we believe that an employer may combine only



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        a very limited Section [1681d] notice with the general Section
        [1681b(b)(2)(A)(i)] notice without running afoul of the latter section’s
        requirement that the required disclosure be in a stand-alone document. The
        surest way for an employer to comply, of course, would be to provide the Section
        [1681b(b)(2)(A)(i)] notice and the Section [1681d] notice in separate documents.

See Willner Advisory Opinion, available at https://www.ftc.gov/policy/advisory-

opinions/advisory-opinion-willner-03-25-99. (Compl. ¶ 35; see also ¶ 32 (“One of the ways

Defendant’s disclosure is non-compliant is that it improperly combines information about

consumer reports that may be procured with information about investigative consumer reports.”))

By combining the disclosures, like the liability waiver and disclosure in Syed, it is unclear and

confusing to employees and job applicants what, exactly, they are authorizing (i.e., are they

authorizing a consumer report under the FCRA or an “investigative consumer report” under the

FCRA?) As such, the instant facts are on all fours with Syed, notwithstanding Defendant's

attempt to distinguish it.2

        Further, Winco’s argument is really an attack on the merits, not against Mitchell’s

standing. Whether the inclusion of “investigative consumer report” disclosures in a “consumer

report” disclosure is sufficiently confusing—like the inclusion of a liability waiver is—so as to

constitute a violation of the FCRA is a question regarding the merits of the case. On the other

hand, standing hinges on whether employees and applicants who claim that they were provided

disclosures that contain extraneous information have alleged sufficient harm. The Ninth Circuit

in Syed plainly answered this question with a resounding “yes.”

        In short, in finding that job applicants and employees have standing to sue where their

employers obtain background checks about them without first providing "standalone" FCRA


2
  Additionally akin to Syed is the fact that neither case involves any allegation of false
information being included on the consumer reports. Instead, both Syed and the present case turn
on the same issue, the ability to meaningfully authorize the disclosure of the Plaintiff’s personal
and private information in light of extraneous information in the disclosure.


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disclosures, the Ninth Circuit explained that such additional information could confuse

applicants and employees such that it wouldn't be clear just what they were authorizing. The

Ninth Circuit did not hold that only FRCA claims based on liability waivers confer standing on

aggrieved applicants and employees. Mitchell’s disclosure was chalk full of extraneous,

confusing information generally seen in disclosures required prior to obtaining a different type of

consumer report—an investigative consumer report that is more involved than a typical

background check—and she alleges facts that, if proven true, show she was plausibly “deprived

of [her] ability to meaningfully authorize the credit check” so as to have suffered concrete injury.

       As such, Winco's first argument, that Syed is inapposite, falls apart.

       B.      Winco's back up arguments, that Syed is not an "intervening change in law"
               and that the Court is bound by Spokeo regardless, similarly fall flat.

       Unable to distinguish Syed, Winco argues that it shouldn't form the basis of a motion to

reconsider because it was decided before the Court issued its decision dismissing the case.

(Winco. Opp. Br. 5-6.) According to Winco, only changes in the law that occur in between the

time the case is dismissed and the deadline for appeal are considered “intervening.” This is of

course inaccurate, and Winco’s failure to cite any authority in support of that position is

unsurprising. Indeed, “the Ninth Circuit has held that a change in law after the entry of a final

judgment does not constitute an intervening change in law....” Stein v. State Farm Mut. Auto. Ins.

Co., 934 F. Supp. 1171, 1173 (D. Haw. 1996). Hence, the law is actually the opposite of how

Winco characterizes it.

       The simple truth is that Syed was decided while this case was being litigated. Syed was

issued on January 20, 2017, 148 days after Plaintiff had submitted her brief (on August 25, 2016)

opposing Winco’s Motion to Dismiss. In between the time briefing on the motion to dismiss was

complete and the date that the Court issued its decision on the motion there was a change in the



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law—at least insofar as Winco urged this Court to interpret it—with respect to this issue that

wasn’t previously available to either Party. This is not an instance where the decision was

available at the time Plaintiff filed her Opposition brief but due to inadvertence or neglect failed

to cite controlling Ninth Circuit law to the Court. Instead, Mitchell’s Response in Opposition to

the Motion to Dismiss was timely filed months before Syed had even been decided but before the

Court issued its ruling. Hence, Syed is an intervening decision.

        Winco's final attack, asking the Court to ignore Syed in favor Winco's interpretation of

Spokeo, (Winco Opp. Br. 6-7) is a Hail Mary pass. Syed plainly binds this Court, and the panel in

Syed analyzed the FCRA specifically under Spokeo and still found that background check

disclosures that are potentially confusing to job applicants and employees violate the FCRA and

confer standing on aggrieved consumers to file suit. Further, while Spokeo addressed a

completely different section of the FCRA (one that doesn't address employee background check

disclosures at all but instead analyzes a consumer reporting agency’s duty to use reasonable

procedures designed to ensure maximum possible accuracy when compiling its reports), Syed

addressed this employee background check provision of the FCRA specifically.

        As such, there is no basis for ignoring Syed or for following Winco's pre-Syed

interpretation of the statute.

        III.    CONCLUSION

        The Ninth Circuit made clear in Syed that a failure to provide a standalone FCRA notice

and authorization for an employment-related background check causes concrete harm so as to

satisfy the injury-in-fact requirement of Article III. Syed cannot be reconciled with the Court’s

prior Order dismissing this action on the grounds that that no concrete harm was suffered. As

such, there is standing for such violation in the Ninth Circuit.




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       WHEREFORE, Plaintiff Mitchell respectfully requests that the Court reconsider its

March 7, 2017 decision granting Defendant Winco’s Motion to Dismiss and for such additional

relief as the Court deems necessary and just.

                  *              *               *              *               *

                                      Respectfully Submitted,

Dated: April 11, 2017                 GLORIA MITCHELL, individually,
                                      and on behalf of all others similarly situated,



                                      By:   /s/ Patrick H. Peluso

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                                 CERTIFICATE OF SERVICE

       I am a resident of the State of Colorado, over the age of eighteen years old, and am not a

party to this lawsuit. My business address is 3900 E. Mexico Avenue, Suite 300, Denver,

Colorado 80210. I HEREBY CERTIFY that on the 11th day of April 2017, I filed the foregoing

REPLY IN SUPPORT OF HER MOTION TO RECONSIDER MEMORANDUM

DECISION AND ORDER OF MARCH 7, 2017 DISMISSING CASE electronically through

the CM/ECF system, which caused the following parties or counsel to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:

                    Rick D. Roskelley, Attorney for Defendant Winco Foods, LLC.

                    Mr. Roskelley’s email address is rroskelley@littler.com.

       I declare that the foregoing is true and correct.

                                                      /s/ Patrick H. Peluso




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